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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

  Civil Action No. 20-cv-02702-SKC

  KATELYN SCHILLER,

  Plaintiff,

  v.

  THE BOARD OF GOVERNORS OF THE COLORADO STATE UNIVERSITY
  SYSTEM, BY AND ON BEHALF OF COLORADO STATE UNIVERSITY;
  OVATIONS FOOD SERVICES, LP (d/b/a/ SPECTRA FOOD SERVICES AND
  HOSPITALITY); MICHAEL BEST; and SCOTT SCHELL,

  Defendants.

                       NOTICE OF ENTRY OF APPEARANCE

         Jennifer H. Hunt, Senior Assistant Attorney General, hereby enters her

  appearance on behalf of Defendant, Board of Governors of the Colorado State

  University System, by and on behalf of Colorado State University.

         All parties shall send a copy of all pleadings, motions, and briefs filed with

  the Court to the undersigned Senior Assistant Attorney General.

         DATED this 26th day of August, 2021.

                                            PHILIP J. WEISER
                                            Attorney General

                                            /s/ Jennifer H. Hunt
                                            JENNIFER H. HUNT, 29964*
                                            Senior Assistant Attorney General

                                            ATTORNEY FOR DEFENDANT BORAD
                                            OF GOVERNORS OF THE COLORADO
                                            STATE UNIVERSITY SYSTEM
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                            CERTIFICATE OF SERVICE
  I certify that I served the foregoing Entry of Appearance upon all parties herein

  by filing copies of same using the ECF System, this 26th day of August, 2021

  addressed as follows:

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                                                /s/ Carmen Van Pelt
